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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
    Chambers of                                                              6500 Cherrywood
George Jarrod Hazel                                                          Greenbelt, MD 20770
United States District Judge                                                  301-344-0637
                                                                              301-344-3910- FAX

                                         August 9, 2022


RE: United States of America v. Brian McQuade
GJH-21-cr-00348



                                        Scheduling Order
Dear Counsel:

Pursuant to the Scheduling Conference held on August 9, 2022, the Court hereby issues the
following schedule:

Motions Deadline                                            August 26, 2022

Motion in Limine Deadline                                   December 22, 2022

Opposition to Motion in Limine                              January 16, 2023

Pre-Trial Conference                                        January 24, 2023 at 9:30AM

Jury Trial                                                  February 6, 2023 at 9:30AM (8 Days)


*Defendant has indicated it does not intend to file a motion. If that changes, Defendant shall
email chambers to notify the Court of the need for a Motion hearing.


*Dates are subject to change based on courtroom availability.

Although informal, this is an Order of the Court and shall be docketed as such.


                                                                           Sincerely,

                                                                                           /s/
                                                                                     George J. Hazel
                                                                         United States District Judge
